 Case 6:08-cv-00582-GAP-DAB Document 6 Filed 04/23/08 Page 1 of 6 PageID 34




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

UNITED STATES OF AMERICA )
                              )
         Plaintiff,           )
                              )
           v.                 )                 CIVIL ACTION NO. 6:08-cv-582-ORL-31DAB
                              )
THE SCHOOL BOARD OF           )
OSCEOLA COUNTY, FLORIDA )
and CONNIE CLICK, Supervisor  )
of Elections,                 )
                              )
         Defendants.          )
______________________________)


                             CONSENT JUDGMENT AND DECREE

          The United States initiated this action to enforce Section 2 of the Voting Rights Act of

1965, as amended, 42 U.S.C. 1973 (“Section 2”). The complaint (Doc. 1) alleges that the

election districts for electing the members of the School Board of Osceola County, as currently

drawn, will result in Hispanic citizens having less opportunity than other members of the

electorate to participate in the electoral process and to elect candidates of their choice to office in

violation of Section 2. The court has jurisdiction of this action pursuant to 42 U.S.C. 1973j(f)

and 28 U.S.C. 1345.

          The parties, through counsel, have conferred and agree that this action should be settled

without protracted, costly, and potentially divisive litigation. Moreover, the parties share the

goal that all future elections for the School Board of Osceola County are conducted under

election districts that comply with Section 2. Accordingly, the parties have filed a joint motion

(Doc. 3) for entry of this Consent Judgment and Decree as an appropriate resolution of this

action.
 Case 6:08-cv-00582-GAP-DAB Document 6 Filed 04/23/08 Page 2 of 6 PageID 35




       The parties stipulate as follows:

       1.      Defendant the School Board of Osceola County, Florida is a political subdivision

of the State of Florida, organized pursuant to the Florida Constitution and the laws of Florida.

       2.      The School Board of Osceola County, Florida (hereafter “School Board” or

“Board”) is the body established under the Florida Constitution and the laws of the State of

Florida that is responsible for the governance and administration of the School District of

Osceola County, Florida.

       3.      Defendant Connie Click is the Supervisor of Elections of Osceola County, and is

sued in her official capacity. The Supervisor of Elections has responsibilities concerning the

administration of voter registration and the conduct of school board elections in Osceola County.

       4.      According to the 2000 Census, Osceola County, which is coterminous with the

Osceola County School District, has a total population of 172,493 persons, of whom 50,727

(29.4%) are Hispanic persons. The County has a total voting-age population of 126,279 persons,

of whom 34,267 (27.1%) are Hispanic persons.

       5.      There has been substantial and continuing growth in the Hispanic population since

the 2000 Census was released. The 2006 American Community Survey of the Bureau of the

Census for Osceola County reflects a total population of 244,045 persons, of whom 97,361 are

Hispanic persons (39.9%). The total voting-age population is 182,237, of whom 68,663 are

Hispanic persons (37.7%). As of January 2008, Hispanic persons constituted 34 percent of

Osceola County’s registered voters.

       6.      From 1997 through the most recent election in 2006, the five members of the

School Board have been elected on an at-large basis from numbered positions to four-year,



                                                -2-
 Case 6:08-cv-00582-GAP-DAB Document 6 Filed 04/23/08 Page 3 of 6 PageID 36




staggered terms. If no candidate receives a majority of the vote in the initial election, there is a

run-off election between the top two candidates.

       7.      In 2006, the United States prevailed in a Section 2 vote dilution suit against

Osceola County challenging the at-large system for electing its Board of County Commissioners.

The court ruled that the use of the at large system for electing commissioners in Osceola County

diluted Hispanic voting strength in violation of Section 2, and ordered elections to be held,

beginning with a special election in 2007, under a remedial plan of five single-member districts.

The districting plan approved by the federal district court included a district with a Hispanic

citizen voting age population and Hispanic voter registration majority. See United States v.

Osceola County, Florida, 475 F.Supp.2d 1220 (M.D. Fla. 2006); United States v. Osceola

County, Florida, 474 F.Supp.2d 1254 (M.D. Fla. 2006).

       8.      Following the federal court’s decision in United States v. Osceola County, the

School Board, acting in good faith, unanimously voted to conduct a referendum election on

whether to change to a single-member district method of election. On January 29, 2008, the

voters of Osceola County approved a change in the method of electing members of the School

Board from at-large to single-member districts.

       9.      The court in United States v. Osceola County found that the Hispanic population

in Osceola County is sufficiently numerous and geographically compact that under a fairly-drawn

single-member district voting plan, Hispanic persons would constitute a majority of the citizen

voting age population in one of the five districts. 475 F.Supp.2d at 1229-1231.

       10.     Under the School Board’s existing district plan, Hispanic persons would not

constitute a majority of the citizen voting-age population or of the registered voters in any of the



                                                  -3-
 Case 6:08-cv-00582-GAP-DAB Document 6 Filed 04/23/08 Page 4 of 6 PageID 37




five districts.

        11.        Based on the undisputed facts in the record and the United States’ expert

testimony and analyses of elections for countywide offices in Osceola County, including School

Board elections, the court in United States v. Osceola County found that Hispanic voters are

politically cohesive, racially polarized voting patterns prevail in the county, and non-Hispanic

voters have voted sufficiently as a bloc to enable them usually to defeat Hispanic voters’

preferred candidates. Id. at 1232-1233.

        12.        No Hispanic candidate has ever been elected to the School Board, or to any

county-wide office in Osceola County.

        13.        The court in United States v. Osceola County found that there was “a history of

discrimination against Hispanic voters and candidates in Osceola County.” Id. at 1235.

        14.        The court in United States v. Osceola County found that significant

socioeconomic disparities between Hispanic and nonHispanic white residents have impeded

equal participation by Hispanic persons in Osceola County elections. Id. at 1234.

        15.       Further, pursuant to section 1001.36, Florida Statutes, the School Board is

prohibited from revising its election districts in even-numbered years.

        16.        In light of the totality of circumstances set forth in paragraphs 4 through 15 above,

and to ensure that the Hispanic citizens of Osceola County have an equal opportunity to elect

candidates of their choice to the School Board, the Defendants have agreed to replace the existing

election districts with a revised district plan to be implemented beginning with the 2008

scheduled elections. The new plan provides for a district in which Hispanic citizens will

constitute a majority of the eligible voters.



                                                    -4-
 Case 6:08-cv-00582-GAP-DAB Document 6 Filed 04/23/08 Page 5 of 6 PageID 38




        Accordingly, it is hereby ORDERED, ADJUDGED AND DECREED that:

        1.      The Osceola County School Board’s current district plan, implemented in the

totality of circumstances referenced above, violates Section 2 of the Voting Rights Act, 42

U.S.C. 1973.

        2.      The Osceola County School Board’s current district boundaries are replaced by

the revised district plan appended in Exhibit A. A map of the geographic boundaries and the

statistics for each district are provided in Exhibit A.

        3.      The district boundaries in Exhibit A will be used for the 2008 and 2010 elections

for the Osceola County School Board. In 2008, the Osceola County School Board will hold

elections in Districts 2 and 3. In 2010, the Osceola County School Board will hold elections in

Districts 1, 4, and 5.

        4.      Upon entry of this Decree, Defendants shall ensure that information, materials,

and announcements regarding the district boundaries in Exhibit A and the election schedule are

provided to the voters through mail, newspapers, radio, the Internet, and other appropriate media.

Information will be provided in the Spanish language to the same extent as it is provided in

English.

        5.       Following the release of the 2010 Census, the Osceola County School Board shall

review the Census to determine whether the districting plan adopted and approved by this

Consent Judgment and Decree needs to be revised to comply with federal law, including the one-

person-one vote requirement of the Constitution or Section 2 of the Voting Rights Act. In the

event that Defendants enact a new redistricting plan following the 2010 Census, they shall notify

the United States not later than ten days after its adoption. Any revisions to the district map or


                                                  -5-
 Case 6:08-cv-00582-GAP-DAB Document 6 Filed 04/23/08 Page 6 of 6 PageID 39




method of election provided in this Decree shall comply with Section 2 of the Act and applicable

constitutional standards.

       6.       This Court shall retain jurisdiction through the 2010 elections to enforce the

provisions of the Decree and for such further relief as may be appropriate.



       DONE and ORDERED in Orlando, Florida this 23rd day of April, 2008.
